            Case 2:16-cv-01579-APG-NJK Document 6 Filed 11/03/16 Page 1 of 1



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     Attorneys for Plaintiff
 6   Marenete Mathers
 7                             IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEVADA
 8
     Marenete Mathers,                               )   Case No. 2:16-cv-01579-APG-NJK-
 9
                                                     )
                           Plaintiff,                )
10
     v.                                              )
                                                         NOTICE OF DISMISSAL WITH
                                                     )
11                                                       PREJUDICE AS TO DEFENDANT
                                                     )   CLICKSPARK, LLC D/B/A
     CLICKSPARK, LLC D/B/A
                                                     )   CLICKSPARK.COM D/B/A
12   CLICKSPARK.COM D/B/A                            )   DEGREEMATCH.COM
     DEGREEMATCH.COM,                                )
13
                           Defendant.                )
14
            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Defendant CLICKSPARK, LLC D/B/A
15
     CLICKSPARK.COM D/B/A DEGREEMATCH.COM (“DegreeMatch”), not having filed or
16
     served an answer or a motion for summary judgment; the Plaintiff in the above-entitled action, as
17
     to Defendant DegreeMatch, and only as to Defendant DegreeMatch authorizes, and directs the
18
     Clerk of the Court to enter a judgment of dismissal with prejudice, against Defendant
19   DegreeMatch.
20          Dated:             November 3, 2016
21                                         Respectfully submitted,

22                                         By:     /s/David H. Krieger, Esq.
                                                   David H. Krieger, Esq. (Nevada Bar No. 9086)
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